Case 1:20-cv-11548-NMG Document 235 Filed 08/14/23 Page 1 of 2

United States District Court
District of Massachusetts

United States of America,
Plaintiff,

Civil Action No.
20-11548-NMG

Vv.

Teva Pharmaceuticals USA, Inc.,
and Teva Neuroscience, Inc.,

Defendants.

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ORDER

Pending before the Court is the motion of Teva
Pharmaceuticals USA, Ine. and Teva Neuroscience, Inc.
(collectively “Teva” or “defendant”) to certify for
interlocutory appeal the order of this Court entered July 14,
2023 (Docket No. 195) denying Teva’s motion for summary judgment
and allowing the motion of the United States (“the government”

or “plaintiff”) for partial summary judgment.

Pursuant to 28 U.S.C. § 1292(b), a district court may
certify an interlocutory order for appeal only if it is

satisfied that such an order

[1] involves a controlling question of law [2] as to
which there is substantial ground for difference of
opinion and [3] that an immediate appeal from the
Case 1:20-cv-11548-NMG Document 235 Filed 08/14/23 Page 2 of 2

order may materially advance the ultimate termination
of the litigation

28 U.S.C. § 1292(b). Teva contends that the causation standard
when a plaintiff seeks to prove falsity by relying on the 2010
Amendment to the Anti-Kickback Statute is “a controlling
question of law as to which there is substantial ground for
difference of opinion,” and an immediate appeal may “materially
advance the ultimate termination of th[is] litigation.” See id.

The Court agrees that certification is warranted.

Accordingly, defendant Teva’s motion to certify the Court’s
July 14, 2023 order for interlocutory appeal to the United
States Court of Appeals for the First Circuit and stay trial
pending resolution of that interlocutory appeal (Docket No. 196)

is ALLOWED.

So ordered.

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Nathaniel M. Gofton
United States District Judge

Dated: August [/¥, 2023
